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              UNITED STATES COURT OF INTERNATIONAL TRADE
__________________________________________
                                           :
ALUMINUM EXTRUSIONS FAIR TRADE             :
COMMITTEE,                                 :
                                           :
                  Plaintiff,               :
                                           : Before: Richard K. Eaton, Judge
      v.                                   :
                                           : Court No. 22-00236
UNITED STATES,                             :
                                           :
                  Defendant,               :
                                           :
      and                                  :
                                           :
KINGTOM ALUMINIO S.R.L.,                   :
                                           :
                  Defendant-Intervenor.    :
__________________________________________:

                                                ORDER

         Upon consideration of Plaintiff Aluminum Extrusions Fair Trade Committee’s (“Plaintiff”)

Motion for a Preliminary Injunction, ECF No. 8, and all other papers and proceedings herein, it is

hereby

         ORDERED that a temporary restraining order is entered in this case effective at the time

of the docketing of this order; it is further

         ORDERED that Defendant the United States, together with the delegates, officers, agents,

and employees of the United States Customs and Border Protection (“U.S. CBP”), shall be, and

are hereby temporarily restrained from causing or permitting liquidation of unliquidated entries of

aluminum extrusions from the Dominican Republic that:

        were subject to Enforce and Protect Act Investigation Number 7550, Letter from Brian M.

         Hoxie, Director, Enforcement Operations Division, Trade Remedy & Law Enforcement

         Directorate, CBP Office of Trade, re: Notice of Final Determination as to Evasion (Feb. 4,
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       2022), and the subsequent de novo administrative review, Letter from Wiley R. Beevers,

       Chief, Cargo Security, Carriers & Restricted Merchandise Branch, Regulations & Rulings,

       Office of Trade, U.S. CBP, re: Enforce and Protect Act (“EAPA”) Case Number 7550;

       Aluminum Extrusions from the People’s Republic of China: Antidumping Duty Order, 76

       FR 30650 (May 26, 2011) and Aluminum Extrusions from the People’s Republic of China:

       Countervailing Duty Order, 76 FR 30653 (May 26, 2011); Kingtom Aluminio SRL; 19

       U.S.C. § 1517 (June 29, 2022);

      were entered, or withdrawn from warehouse for consumption, on or after January 8, 2020;

      were imported by Kingtom Aluminio S.R.L.;

      remain unliquidated as of 5:00 p.m. on the day the Court enters this order on the docket in

       this case; and it is further

       ORDERED that this temporary restraining order shall remain in effect from the date hereof

until 5:00p.m. Eastern time on the date that the court rules upon Plaintiff’s Motion for a

Preliminary Injunction.



                                                                        /s/ Richard K. Eaton
                                                                               Judge


Dated: August 18, 2022
       New York, New York
